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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION

 UNITED STATES of AMERICA,      )
                                )
     Plaintiff,                 )    Criminal Action No. 6: 05-30-DCR
                                )
 V.                             )
                                )
 MARK EDWARD BAIRD and THOMAS )        MEMORANDUM OPINION
 EDWARD EFFLER                  )             AND ORDER
                                )
     Defendants.                )
                                )
                         *** *** *** ***

       This matter is pending for consideration of the United States’ oral motion to disqualify

the law firm of Jensen, Cessna, Benge, and Webster from representing Mark Edward Baird and

Thomas Edward Effler. Attorney Tom Jensen represents Baird and Attorney Doug Benge

represents Effler. For the reasons stated herein, the Court will grant the United States’ motion

and disqualify the firm of Jensen, Cessna, Benge, and Webster from further representation of the

Defendants in this case.

                                       BACKGROUND

       Both Defendants were allegedly involved in a drug distribution conspiracy in Clay

County, Kentucky. The second superceding indictment returned July 8, 2005, contains

numerous substantive counts which include charges against Defendant Baird and Effler. In

addition, both Defendants are named in forfeiture count which seeks a monetary judgment of

$5,000,000.00 against these and other Defendants. Specifically, Counts 2, 3, 7, 8, 9, 10, 12, 14,

15, and 17 allege that Defendants Effler, Baird, and others engaged in a conspiracy to distribute,

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and possess with intent to distribute, cocaine during various periods. Count 16 alleges that Effler

knowingly possessed, with the intent to distribute, marijuana.

       At their arraignment, the Court advised them of the conflict and discussed the procedures

for filing a waiver of the conflict. [Record No. 116] Thereafter, both Defendants executed

waivers. [Record Nos. 138, 151]

                                          ANALYSIS

       The United States argues that joint representation could: (1) make it more difficult for

these Defendants to negotiate and possibly enter into plea agreements because subsequent

negotiations will inevitably implicate the other Defendant; (2) allow Baird, as an alleged leader

of the conspiracy, to exert control over Effler, who was allegedly lower in the conspiracy; and

(3) make it difficult (if not impossible) for Jensen, Cessna, Benge, and Webster to render fair and

impartial advice to these clients when deciding whether they should testify, given that one

client’s testimony could implicate the other. And, although each Defendant has a different

attorney, “[a]n attorney’s conflicts are ordinarily imputed to his firm based on the presumption

that ‘associated’ attorneys share client confidences.” Hempstead Video, Inc. v. Incorporated

Village of Valley Stream, 409 F.3d 127, 133 (2d Cir. 2005); accord Harris v. Agrivest Ltd.

Partnership II, 818 F. Supp. 1035, 1040 (E.D. Mich. 1993).

       Also, as this Court has recognized with respect to a similar motion to disqualify an

earlier-retained attorney, there are concerns about potential sentencing issues, should any

Defendant be found guilty. Prior to sentencing proceedings, it may be in a Defendant’s best

interest to cooperate with the United States in the hope of obtaining some relief via § 5K1.1 of



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the United States Sentencing Guidelines. In addition to these factors, investigation conducted

by counsel during these criminal actions may yield information helpful to one Defendant, but

damaging to the other.

        Jensen, Cessna, Benge, and Webster respond by stating that, prior to agreeing to represent

both clients, the firm ensured that neither Defendant had ever met or spoken with the other. In

addition, neither attorney was aware of the other’s representation until several weeks after

beginning their representation. The firm claims that “neither Mr. Benge nor Mr. Jensen have

been provided with the complete discovery for their clients and are unable to reasonably evaluate

whether an actual conflict or a serious potential for conflict exists.” [Record No. 187, p. 2]

        Having reviewed the evidence from the various hearings and having overseen the wiretap

in this case, the Court believes that it is very likely that significant conflicts either have or will

develop if the defendants are jointly represented.1 In light of this evidence, Jensen, Cessna,

Benge, and Webster will not be able to effectively represent one Defendant without

compromising the interests of the other. Further, the knowledge that is likely possessed by both

attorneys at this stage of the proceedings counsels that the best course of action is to have each

Defendant obtain a new attorney. In short, Jensen, Cessna, Benge, and Webster will not be


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        Again, the Court recognizes that, in some instances of shared representation may be appropriate,
depending upon the facts presented. In those cases, a written waiver, together with oral warnings from the
Court, may be sufficient to insure proper and adequate representation. However, in multi-tier conspiracies
written waivers can be illusory. An individual defendant’s ability to make critical decisions may be
compromised if he or she is represented by the same attorney who happens to represents other defendants
with greater culpability. In such situations, the waiver may be viewed – either correctly or incorrectly – as
the proverbial “offer” that a defendant cannot refuse. If the defendant believes he must sign the waiver or
face the consequences, it does not matter that the attorney representing both parties has pure motives. A
defendant is entitled to zealous representation by an attorney who the defendant believes will not share
information with other parties having competing interests and without fear that information he provides in
confidence will not be used to his detriment.

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allowed to withdraw from the representation of one Defendant while continuing to represent the

other.

         The Supreme Court has noted that “while the right to select and be represented by one’s

preferred attorney is comprehended by the Sixth Amendment, the essential aim of the

Amendment is to guarantee an effective advocate for each criminal defendant rather than to

ensure that a defendant will inexorably be represented by the lawyer whom he prefers.” Wheat

v. United States, 486 U.S. 153, 159 (1988). Indeed, “a court confronted with and alerted to

possible conflicts of interest must take adequate steps to ascertain whether the conflicts warrant

separate counsel.” Id. at 160. Even if all defendants waive their right to be represented by

independent counsel, courts must still consider whether joint representation should be permitted

because “[f]ederal courts have an independent interest in ensuring that criminal trials are

conducted within the ethical standards of the profession and that legal proceedings appear fair

to those who observe them.” Id. Accordingly, Rule 44(c) of the Federal Rules of Criminal

Procedure provides that, “[u]nless it appears that there is good cause to believe no conflict of

interest is likely to arise, the court shall take such measures as may be appropriate to protect each

defendant’s right to counsel.”

         As noted by the Defendants, the Court advised them of the potential conflict and received

waivers from each Defendant. Regardless, “where a court justifiably finds an actual conflict of

interest, there can be no doubt that it may decline a proffer of waiver, and insist that defendants

be separately represented.” Wheat, 486 U.S. at 162. As the Supreme Court has recognized, it

is difficult for the Court to consider this issue prior to trial:



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       [u]nfortunately for all concerned, a district court must pass on the issue whether
       or not to allow a waiver of a conflict of interest by a criminal defendant not with
       the wisdom of hindsight after the trial has taken place, but in the murkier pre-trial
       context when relationships between parties are seen through a glass, darkly. The
       likelihood and dimensions of nascent conflicts of interest are notoriously hard to
       predict, even for those thoroughly familiar with criminal trials. It is a rare
       attorney who will be fortunate enough to learn the entire truth from his own
       client, much less be fully apprised before trial of what each of the Government's
       witnesses will say on the stand. A few bits of unforeseen testimony or a single
       previously unknown or unnoticed document may significantly shift the
       relationship between multiple defendants. These imponderables are difficult
       enough for a lawyer to assess, and even more difficult to convey by way of
       explanation to a criminal defendant untutored in the niceties of legal ethics. Nor
       is it amiss to observe that the willingness of an attorney to obtain such waivers
       from his clients may bear an inverse relation to the care with which he conveys
       all the necessary information to them.

       For these reasons we think the district court must be allowed substantial latitude
       in refusing waivers of conflicts of interest not only in those rare cases where an
       actual conflict may be demonstrated before trial, but in the more common cases
       where a potential for conflict exists which may or may not burgeon into an actual
       conflict as the trial progresses.

Id. at 162-63.

       At a minimum, this Court believes that a significant potential for conflict exists if these

Defendants are represented by the same firm. The problem of dual representation is highlighted

by the Defendants’ separately-filed responses to the motion: although submitted and signed

separately, the responses are almost carbon-copies of each other and clearly indicate that they

were prepared with collaboration. [Record Nos. 187, 189] The legal argument sections of the

responses appear to be identical. Such collaboration belies the claim that a so-called “Chinese

Wall” has been instituted between the two attorneys. See Black’s Law Dictionary 573 (7th ed.

1999). Further, the firm itself acknowledges that it does not yet know whether a conflict exists

or might develop in the future. [Record No. 187, p. 2]


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                                         CONCLUSION

       The Court must disqualify the firm of Jensen, Cessna, Benge, and Webster in order to

protect the fairness of proceedings and insure that the Defendants are adequately and fairly

represented. Accordingly, it is hereby

       ORDERED that the United States’ oral motion to disqualify the law firm of Jensen,

Cessna, Benge, and Webster is GRANTED. The law firm of Jensen, Cessna, Benge, and

Webster – and the attorneys practicing within that firm – are DISQUALIFIED as counsel in

these proceedings.

       This 15th day of July, 2005.




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